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                                  EXHIBIT A-1
                     STANDARDIZED FUND ACCOUNTING REPORTS

                           FIRST CALENDAR QUARTER 2019




EXHIBIT A-1– STANDARDIZED FUND ACCOUNTING REPORT
49620936;2
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                                  EXHIBIT A-2
                     STANDARDIZED FUND ACCOUNTING REPORTS

                          SECOND CALENDAR QUARTER 2019




EXHIBIT A-2 – STANDARDIZED FUND ACCOUNTING REPORT
49620936;2
                      STANDARDIZED FUND ACCOUNTING REPORT for The Ticket Reserve
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                                       Receivership - Cash Basis
                                                           16-CV-1417;
                                                     SFAR 4-01-19 thru 6-30-19


FUND ACCOUNTING (See Instructions):
                                                                           Reporting            Subtotal Prior
                                                                            Period                Periods         Grand Total
Line 1         Beginning Balance (As of 4/01/2019):                      $ 841,088.62           $         -      $        -
               Increases in Fund Balance:
Line 2         Business Income                                           $            -         $   256,212.08   $ 256,212.08
Line 3         Cash and Securities                                       $            -         $    14,373.27   $ 14,373.27
Line 4         Interest/Dividend Income                                  $            -         $          -     $         -
Line 5         Business Asset Liquidation                                                                        $         -
Line 6         Personal Asset Liquidation                                $            -         $      200.00    $      200.00
Line 7         Third-Party Litigation Income                                                                     $         -
Line 8         Miscellaneous - Other                                     $ 717,008.20           $ 1,042,597.30   $1,759,605.50
                 Total Funds Available (Lines 1 – 8):                    $ 1,558,096.82         $ 1,313,382.65   $2,030,390.85
               Decreases in Fund Balance:
Line 9         Disbursements to Investors
Line 10        Disbursements for Receivership Operations
    Line 10a   Disbursements to Receiver or Other Professionals          $           -          $  47,104.95     $ 47,104.95
    Line 10b   Business Asset Expenses                                   $        938.96        $ 418,834.08     $ 419,773.04
    Line 10c   Personal Asset Expenses
    Line 10d   Investment Expenses
    Line 10e   Third-Party Litigation Expenses
                   1. Attorney Fees
                   2. Litigation Expenses
                 Total Third-Party Litigation Expenses
    Line 10f Tax Administrator Fees and Bonds
    Line 10g Federal and State Tax Payments                              $         300.00       $     300.00     $     600.00
              Total Disbursements for Receivership Operations            $       1,238.96       $ 466,239.03     $ 467,477.99
Line 11      Disbursements for Distribution Expenses Paid by the Fund:
    Line 11a    Distribution Plan Development Expenses:
                 1. Fees:
                       Fund Administrator…………………...………………..                                                      $         -
                       Independent Distribution Consultant (IDC)………………                                           $         -
                       Distribution Agent…………………...……………....…                                                    $         -
                       Consultants…………………………....……………….                                                          $         -
                       Legal Advisers……………………...…..………………                                                        $         -
                       Tax Advisers………………………..………….…………                                                          $         -
                  2. Administrative Expenses                                 $              -                    $         -
                  3. Miscellaneous                                                                               $         -
                  Total Plan Development Expenses                                                                $         -
    Line 11b      Distribution Plan Implementation Expenses:
                  1. Fees:
                       Fund Administrator…………………..…………..………                                                      $         -
                       IDC……………………………………...…......…………                                                           $         -
                       Distribution Agent……………………..….……………..                                                     $         -
                       Consultants………………………………....……………                                                          $         -
                       Legal Advisers………………………..……....…………                                                       $         -
                       Tax Advisers…………………….………….……………                                                           $         -
                   2. Administrative Expenses                                                   $     6,055.00   $    6,055.00
                   3. Investor Identification:
                       Notice/Publishing Approved Plan……………...……..…                                              $         -
                       Claimant Identification…………………….……...…….                                                  $         -
                       Claims Processing………………………….………..……                                                       $         -
                       Web Site Maintenance/Call Center……….……...……                                               $         -
                   4. Fund Administrator Bond                                                                    $         -
                   5. Miscellaneous                                                                              $         -
                   6. Federal Account for Investor Restitution (FAIR)
                   Reporting Expenses                                                                            $         -
                       STANDARDIZED FUND ACCOUNTING REPORT for The Ticket Reserve
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                                        Receivership - Cash Basis
                                                        16-CV-1417;
                                                  SFAR 4-01-19 thru 6-30-19

                Total Plan Implementation Expenses                                                        $         -
               Total Disbursements for Distribution Expenses Paid by the Fund
Line 12      Disbursements to Court/Other:
    Line 12a    Investment Expenses/Court Registry Investment
             System (CRIS) Fees                                                                           $         -
    Line 12b    Federal Tax Payments
              Total Disbursements to Court/Other:                                                         $        -
              Total Funds Disbursed (Lines 9 – 11):                   $       1,238.96   $   472,294.03   $ 473,532.99
Line 13       Ending Balance (As of 6/30/2019):                       $ 1,556,857.86     $   847,143.62   $1,556,857.86
Line 14      Ending Balance of Fund – Net Assets:
    Line 14a    Cash & Cash Equivalents                               $ 1,559,871.93     $   843,683.59   $1,559,871.93
    Line 14b    Investments                                           $          -                        $         -
    Line 14c                  = Uncleared Funds
                Other Assets or                                       $    (3,014.07)    $  (2,594.97)    $   (3,014.07)
              Total Ending Balance of Fund – Net Assets               $ 1,556,857.86     $ 841,088.62     $1,556,857.86


OTHER SUPPLEMENTAL INFORMATION:
                                                                          Detail             Subtotal      Grand Total
              Report of Items NOT To Be Paid by the Fund:
Line 15      Disbursements for Plan Administration Expenses Not Paid by the Fund:
    Line 15a    Plan Development Expenses Not Paid by the Fund:
                 1. Fees:
                     Fund Administrator……………………...……………..                                                 $         -
                     IDC………………………………………..……….……..                                                         $         -
                     Distribution Agent……………………...…………....…                                               $         -
                     Consultants…………………………….……………….                                                       $         -
                     Legal Advisers………………………….………………                                                      $         -
                     Tax Advisers…………………………….…….…………                                                      $         -
                 2. Administrative Expenses                                                               $         -
                 3. Miscellaneous                                                                         $         -
                 Total Plan Development Expenses Not Paid by the Fund
   Line 15b      Plan Implementation Expenses Not Paid by the Fund:
                 1. Fees:
                     Fund Administrator…………………….………..………                                                  $         -
                     IDC………………………………………........…………                                                       $         -
                     Distribution Agent……………………….……………..                                                  $         -
                     Consultants…………………………...…..……………                                                     $         -
                     Legal Advisers…………………………..…...…………                                                   $         -
                     Tax Advisers…………………….……...………………                                                     $         -
                 2. Administrative Expenses                                                               $         -
                 3. Investor Identification:                                                              $         -
                     Notice/Publishing Approved Plan……………...……..…                                         $         -
                     Claimant Identification…………………….……...…….                                             $         -
                     Claims Processing………………………….………..……                                                  $         -
                     Web Site Maintenance/Call Center……….……...……                                          $         -
                 4. Fund Administrator Bond                                                               $         -
                 5. Miscellaneous                                                                         $         -
                 6. FAIR Reporting Expenses                                                               $         -
                Total Plan Implementation Expenses Not Paid by the Fund                                   $         -
   Line 15c     Tax Administrator Fees & Bonds Not Paid by the Fund                                       $         -
               Total Disbursements for Plan Administration Expenses Not Paid by the Fund
Line 16      Disbursements to Court/Other Not Paid by the Fund:
    Line 16a    Investment Expenses/CRIS Fees                                                             $         -
    Line 16b    Federal Tax Payments                                                                      $         -
              Total Disbursements to Court/Other Not Paid by the Fund:                                    $         -
Line 17       DC & State Tax Payments                                                                     $         -
Line 18      No. of Claims:
    Line 18a    # of Claims Received This Reporting Period…..…………………………………………………… $                                 -
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         STANDARDIZEDDocument
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                             Receivership - Cash Basis
                                   16-CV-1417;
                              Sched 8 - Miscellaneous



                     Description                         Amount

             Settlement                         $           717,008.20




             Total                              $           717,008.20
         STANDARDIZEDDocument
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                            Receivership - Cash Basis
                                   16-CV-1417;
                          Sched 10 - Oper. Disbursements



                       Description                         Amount
         10a Disbursements to Receiver or Other Professionals
         Professional Fees/Expenses                 $                  -



         10b Business Asset Expenses
         Storage Expenses                           $               419.86
         Administrative Expenses                    $               519.10



         10g Federal and State Tax Payments
         Delaware Annual Tax                        $               300.00




         Total                                      $          1,238.96
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                           Receivership - Cash Basis
                                  16-CV-1417;
                         Sched 14 - Ending Bal. of Funds



             Line    Class         Description                 Amount
       14a            Cash & Cash Equivalents
                            Rabobank                       $   1,559,871.93

                            Subtotal                       $   1,559,871.93

       14b            Investments


                            Subtotal                       $            -

       14c            Other Assets or Uncleared Funds      $      (3,014.07)


                            Subtotal                       $      (3,014.07)

                            Total                          $   1,556,857.86
